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Ao 91 (Rev. 08/09) Criminal Compiaim / Uni!ed Stale_s D§strict Court

UNITED STATES DISTRICT CoURT FEB 2 4 gm

 

 

for the
Southem District of Texas pavid J_ Brad|ey mark
United States of America l )
Neison AVlLA,YbB: 1999; mexican citizen) ) . , Ll[@ ,M
Yuiissa LozANo-Martinez,' YoB: 1997 ). Case N°' M' 13 0 /
(l\/|exlcan Citizen) §
)
De_fendanr(s)
CRIMINAL CoMPLAINT

l, the complainant in this case, state that the following is true to the best of my knowledge and belief

 

 

On or about the date(s) of February 23, 2018 ~ in the county of Hidalgo in the
Sguthem District of `|'exas , the defendant(s) violated:
Code Section O]Yense Description
21 U.S.C. § 841 y Possession With intent to Distribute Cocaine
21 U.S.C. § 952 illegal importation of Cocaine

This criminal complaint is based on these facts:
Gn February 23, 2018, Nelson AVlLA and Yulissa LOZANO - l`\/|artinez were detained attempting to enter the United
States through the Hidaigo, Texas Port of Entry With approximately 23.7 kilograms of cocaine concealed inside the gas
tank of the vehicle AVlLA Was driving. '
SEE ATTACHl\/lENT "A"

\/ Continued on the attached sheet

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l ,, , lr~

Jesus R. Cuellar, U.S., HSl TFO
§ A. Printed name and title

SWorn to before me and Signed in my presence
Daie: 2/24/2018 7 : 0 § / @'-- ,/‘/‘/Z f &M
. ` Judge s signature

-City and state: l\/chllen, Texas U.S. l\/laqistrate Judge Peter Ormsby

Pz'imed name and title

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ATTACHMENT A

' On February 23, 2018, US. lmmigration and Customs Enforcement (ICE),
Homeland Security Investigations (HSI) in McAllen, TeXas received a request for
investigative assistance from the U.S. Customs and Border Protection/Ofiice of
Field Operations (CBP/OFO) at the Hidalgo Port of Entry (POE) in Hidalgo,
TeXas. Custorns and Border Protection Officers (CBPOS) detained Nelson
AVlLA~Lujano (hereafter AVlLA) and Yulissa Lozano - MARTINEZ (hereat`ter
LOZANO) after discovering 20 packages containing a white powdery substance,
and weighing a total of 23.8 kilograms (kg), concealed within non-factory
compartments inside the gas tank of a vehicle AVlLA was driving when applying

' for entry into the U.S. l `

CBPOS referred the vehicle for a CBP Land Border inspection During primary
inspection, AVlLA stated he and LOZANO were traveling to the U.S. to shop in
the U.S. During secondary inspection, a non-intrusive X-ray inspection (Z-
portal) of the vehicle was utilized and discovered anomalies located in the gas tank
area of the vehicle CBPOS recovered 20 packages of white powdery substance
within the gas tank of the vehicle which field-tested positive for the properties of
cocaine '

HSI Special Agents and a HSI Task Force Officers (TFO) interviewed AVlLA and
LOZANO who provided (post-Miranda) statements regarding the purpose and
details of their travel into the U.S. from l\/leXico. AVlLA and LOZANO stated
they were hired by unidentified individuals (U/I) to transport a vehicle into the
U.S.

AVlLA stated that during previous trips into the U.S., he was instructed to drive to
a specific store in the Hidalgo area, and provide the keys to the”vehicle to an U/I.
AVlLA stated he was then provided a temporary vehicle to utilize for
approximately 1.5 hours. AVlLA stated he would then return the vehicle to the
U/ls, retrieve the keys to the vehicle which he crossed into the U.S, and return to
l\/Iexico for payment by an U/l.

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AVlLA stated he hired LOZANO to accompany AVlLA to the U.S. AVlLA
stated LOZANO would be compensated approximately $200 U.S. currency.
AVlLA stated he would be compensated $200 U.S. currency for driving the
vehicle into the U.S. AVlLA stated he did not have access to the vehicle other
than the times he was directed to cross into the U.S. by the U/l.- LOZANO stated

she was compensated in U.S. currency, clothing and household goods b y
U/l’s in l\/lexico.

AVlLA and LOZANO stated they believed the vehicle was loaded with illegal
narcotics `

